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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JEFF MULLEN,                                )
                                            )
               Plaintiff,                   )       Case No. 4:20-CV-0862-CDP
                                            )
v.                                          )       JURY TRIAL DEMANDED
                                            )
CITY OF ST. LOUIS, et al.,                  )
                                            )
               Defendants.                  )

                                 ENTRY OF APPEARANCE

       Adriano Martinez, Assistant City Counselor, hereby enters his appearance as co-counsel

for Defendants City of St. Louis, “Pierre,” “Kim” and “Brown,” properly known as Edward

Benoist, Daniel Kim, and William Brown, in their official capacities only.


                                            Respectfully submitted,

                                            MICHAEL A. GARVIN
                                            CITY COUNSELOR

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cc: Plaintiff’s counsel
